  Case 1:20-cv-03384-VEC-KHP                     Document 15         Filed 08/13/20                                      Page 1 of 1
                                                                        f (_:'~itJt         ~~~!)1,J.-Yr
                                                                        I r~, t ·,._; ~ r : ~ 1 r. "'i r;"
                                                                        ; L ,' -, J -... __ \ ,    1 \' J J _ 1 '1   1

                                                                            . l , ; . r·
                                                                        I i•.,        ,
                                                                                                  r·''1\ ,~,  '-, T', , ,_
                                                                                                         , , [ ,     t ',   /   \
                                                                                                                                    i   i ' ;
                                                                                                                                    L ! , J
                                                                                                                                                          r:
                                                                                                                                                ,l . ", I, .. r--.
                                                                                                                                                              j }


UNITED STATES DISTRICT COURT                                              lJ( )(_. fi:                                                                               1



SOUTHERN DISTRICT OF NEW YORK                                             D/\TE F1I                        .F;):-i(/3jqeqo_ •
------------------------------------------------------------X
Benthos Master Fund, Ltd.,
                                   Petitioner,                                20 CIVIL 3384 (AJN)

                 -against-                                                            JUDGMENT

Aaron Etra,
                                   Respondent.
----------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum & Order dated August 12, 2020, Petitioner's motion to confirm

the arbitration award is GRANTED. Judgment is entered in favor of Petitioner in the amount of

$5,254,561.12 plus the interest that has accrued on that amount since May 1, 2020 at a 4% simple

interest per annum, in the amount of $59,887.60, and will continue to accrue post-judgment at the

same rate; accordingly, the case is closed.

Dated: New York, New York
       August 13, 2020

                                                        RUBY J. KRAJICK

                                                              Clerk of Court
                                               BY:
                                                         ck/n
                                                         ~ Depu~
